
549 So. 2d 114 (1988)
Ex parte State of Alabama.
(Re Jonas BLAIR
v.
STATE).
87-1433.
Supreme Court of Alabama.
November 10, 1988.
*115 Don Siegelman, Atty. Gen., and Beth Slate Poe, Asst. Atty. Gen., for petitioner.
Thomas M. Semmes, Anniston, for respondent.
Prior report: Ala.Cr.App., 549 So. 2d 112.
SHORES, Justice.
By denying the petition in this case, we should not be understood to approve the application of the enhancement provisions of Ala.Code 1975, § 20-2-76, to a case where the prior conviction of the defendant was other than in a drug case under the Alabama Uniform Controlled Substances Act, § 20-2-1 et seq.
WRIT DENIED.
TORBERT, C.J., and JONES, ADAMS and STEAGALL, JJ., concur.
